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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION


UNITED STATES OF AMERICA


vs.                                                    2:04-cr-3-FtM-29DNF


JONATHAN VANCE
_____________________________


                           OPINION AND ORDER

      This matter comes before the Court on Defendant Jonathan

Vance’s Motion to Compel Specific Performance (Doc. #40) filed on

February   28,   2007.    The   Court   required   a   response   from   the

government (Doc. #41), and the government filed an In Camera

Response on April 24, 2007, a copy of which was served upon

defendant.

      Defendant Jonathan Vance (defendant or Vance) seeks an order

pursuant to Fed. R. Crim. P. 11(e)(3), 28 U.S.C. § 1361, and the

Fifth Amendment Due Process Clause compelling the appropriate

Assistant United States Attorney to specifically perform the terms

of defendant’s cooperation agreement with the United States.             More

specifically, defendant seeks to compel the government to fully

evaluate his post-sentence cooperation and then to make a good

faith determination as to whether it qualifies as substantial

assistance for the purposes of Fed. R. Crim. P. 35(b).
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                                    I.

     Defendant was named in a one count Superceding Indictment

(Doc. #3) charging that he and a co-defendant conspired to possess

with intent to distribute fifty or more grams of cocaine base,

crack cocaine.     In due course defendant signed a Plea Agreement

(Doc. #19) in which, among other things, defendant waived his right

to appeal the sentence (Id. at 12) and the government agreed to

consider   whether    his    cooperation    qualified     as    substantial

assistance (Id. at 4-5).     On the day of the change of plea hearing,

defendant decided not to accept the Plea Agreement because he did

not wish to waive his right to appeal.        (Doc. #23.)      A week later

defendant plead guilty “straight up” to the charge without the

benefit of a plea agreement.      (Doc. #27.)    Defendant did cooperate

with the government, despite not being compelled to do so by a plea

agreement, and prior to sentencing the government filed a Motion by

the United States for Downward Departure of Defendant’s Sentence

Based upon Substantial Assistance (Doc. #34).           The Court granted

the government’s motion, departed four levels under the Sentencing

Guidelines, and sentenced defendant to 120 months imprisonment.

(Docs. #35, 36.)     Judgment was entered on November 5, 2004 (Doc.

#36).   Defendant did not file a direct appeal.

                                    II.

     The pertinent legal principles are well established where a

defendant seeks to compel the government to file a Rule 35(b)


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motion pursuant to a plea agreement. The government has “‘a power,

not a duty, to file a motion when a defendant has substantially

assisted.’” United States v. Forney, 9 F.3d 1492, 1500 (11th Cir.

1993)(quoting Wade v. United States, 504 U.S. 181, 185 (1992)).                 If

a   defendant    alleges   and   makes     a   threshold    showing     that   the

government’s refusal to file a substantial assistance motion was a

breach of a plea agreement, an evidentiary hearing and affirmative

relief may be appropriate.        United States v. Gonsalves, 121 F.3d

1416, 1419-20 (11th Cir. 1997).            However, if the plea agreement

requires the government to “consider” filing a Rule 35 motion, the

failure to file such a motion does not breach the agreement and a

district court has no jurisdiction to review the claim of breach.

United States v. Forney, 9 F.3d 1492, 1499-1502.

      Here, the record demonstrates that defendant entered his

guilty plea without the benefit of a plea agreement.                  Since there

was no plea agreement in existence at the time of the guilty plea,

there can be no breach.           Even if the Plea Agreement somehow

survived, the plain language of the Plea Agreement only required

the government to “consider” filing a Rule 35 motion. Accordingly,

the Court has no jurisdiction to review defendant’s assertion that

there has been a breach of a plea agreement.

      Additionally, a district court has jurisdiction to review a

prosecutor’s refusal to file a substantial assistance motion if the

refusal was based on an unconstitutional motive like race or

religion,   or    was   not   rationally       related     to   any    legitimate

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government end.    Wade v. United States, 504 U.S. 181, 185-86.        Mere

claims of substantial assistance and generalized allegations of

improper motive are not sufficient. Judicial review is appropriate

only when “there is an allegation and a substantial showing that

the prosecution refused to file a substantial assistance motion

because of an constitutionally impermissible motivation.”            United

States v. Forney, 9 F.3d 1492, 1502.

     Here, defendant asserts only that the failure to file a Rule

35(b) motion for him was not rationally related to any legitimate

government end.    Defendant makes no substantial showing that this

is the case, but merely assumes such is the case because he feels

his assistance has been substantial.          The Court concludes that

defendant has not shown the Court has jurisdiction to review this

allegation.

     Defendant’s due process argument is premised on the existence

of a cooperation plea agreement which, defendant asserts, the

government has violated.      For the reasons stated above, defendant

has failed to allege and substantially show the existence of such

an agreement, and therefore no due process claim is set forth in

the motion.

     The defendant also asserts a violation of Fed. R. Crim. P.

11(e)(3) and Rule 11(e)(1)(A), (B), and (C).         No such rules exist,

but the Court assumes defendant is referring to Rule 11(c) and its

sub-parts.    Since a plea agreement was not involved in defendant’s



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guilty plea, he states no cognizable claim under any portion of

Rule 11(c).

       Defendant also seeks an order of mandamus under 28 U.S.C. §

1361   compelling    the   Assistant    U.S.   Attorney    to   evaluate    and

consider     his   post-sentencing     cooperation.        “Mandamus   is   an

extraordinary remedy available only to correct a clear abuse of

discretion or a usurpation of judicial power.”             In re Ford Motor

Co., 345 F.3d 1315, 1316 (11th Cir. 2003).            Mandamus is a legal

remedy largely controlled by equitable principles, and its issuance

is a matter of judicial discretion.            Cash v. Barnhart, 327 F.3d

1252, 1258 (11th Cir. 2003).      “Mandamus relief is only appropriate

when: (1) the plaintiff has a clear right to the relief requested;

(2) the defendant has a clear duty to act; and (3) no other

adequate remedy is available.”         Id. at 1258.       Assuming the Court

has mandamus jurisdiction, the Court finds that defendant has not

established either that he has a clear right to the filing of a

Rule 35(b) motion or that the government has a clear duty to file

such a motion.     Therefore, the request for a writ of mandamus will

be denied.

       The Court has reviewed defendant’s motion liberally because of

his pro se status, and finds no other jurisdictional basis upon

which to consider his claims.

       Accordingly, it is now

       ORDERED:



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     Defendant    Jonathan     Vance’s    Motion   to    Compel     Specific

Performance (Doc. #40) is DISMISSED for lack of jurisdiction, and

alternatively is DENIED on the merits.

     DONE AND ORDERED at Fort Myers, Florida, this           11th     day of

June, 2007.




Copies:
Counsel of Record
Jonathan Vance




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